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7
8                            UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN JOSE DIVISION
11   JESSICA DOMINGUEZ, INDIVIDUALLY               Case Number: 5:18-cv-04826-BLF
     AND AS GUARDIAN AD LITEM FOR
12   JACOB DOMINGUEZ, JORDAN                       DEFENDANTS’ OPPOSITION TO
     DOMINGUEZ AND J,                              PLAINTIFFS’ MOTION FOR SUMMARY
13
                       Plaintiffs,                 JUDGMENT, OR IN THE ALTERNATIVE,
14                                                 PARTIAL SUMMARY JUDGMENT
                 v.
15                                                 Date:         April 21, 2022
     CITY OF SAN JOSE, SAN JOSE POLICE             Time:         9:00 a.m.
16   DEPARTMENT and DOE POLICE
     OFFICERS 1, 2 AND 3, and DOES,                Courtroom:    3, 5th Floor
17   inclusive,                                    Judge:        Hon. Beth Labson Freeman

18                     Defendants.                 Trial Date:   August 22, 2022
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29                                             1
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1                                         I. INTRODUCTION

2           Plaintiffs attempt to secure summary judgment based on a rendition of facts that

3    fails to demonstrate any genuine or material dispute. The undisputed, material facts show

4    that Officer Pina reacted to an imminent deadly threat. Officer Pina sought to apprehend a

5    suspect he was told was armed with a revolver; the suspect reluctantly complied with

6    Officer Pina’s commands to put his hands up; Officer Pina told the suspect to keep his

7    hands up or he would be shot; the suspect responded, “f**k you” and “shoot me”; the

8    suspect then dropped his hands and leaned forward; Officer Pina believed the suspect

9    was retrieving a gun and was about to shoot him; Officer Pina aimed at the suspect while

10   he was leaning down and shot him while he was coming back up, before the suspect could

11   shoot him. Those are the circumstances Officer Pina was confronted with and some of the

12   information known to him at the time about the suspect. Those are the facts that govern

13   the reasonableness analysis. On those facts, it was reasonable for Officer Pina to use

14   deadly force to protect himself and other officers.

15           The facts on which Plaintiffs rely do not affect the reasonableness of Officer Pina’s

16   reaction to suspect Jacob Dominguez. That it was later determined that Dominguez did not

17   actually have a gun available to him does not change the calculus. He did not know at the

18   time that, contrary to the information he had, there was no gun in the vehicle. Nor does it

19   affect the reasonableness of Officer Pina’s reaction that one of Dominguez’s arms was

20   raised above the car door’s window frame when one of the two bullets entered the car.

21   Officer Pina had already made the reasonable decision to shoot to protect himself, and

22   there is no evidence that he should have been able to perceive, assess, and react to the

23   position of Dominguez’s arm. And there is no evidence that the position of Dominguez’s

24   arm, even if Officer Pina had been able to perceive it, would have done anything to dispel

25   the danger that Officer Pina perceived.

26          The Court should reject Plaintiffs’ effort to apply hindsight to the rapidly unfolding

27   circumstances that Officer Pina reacted to. His use of force was reasonable under the

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1    circumstances. Summary judgment is therefore warranted in Defendants’ favor, not

2    Plaintiffs’.

3                                           II. ARGUMENT

4    A. UNDISPUTED FACTS

5            Plaintiffs do not dispute the following key facts, for which Defendants provided

6    evidence in their Motion for Summary Judgment:

7            Officer Pina and other Covert Response Unit (“CRU”) officers had a valid warrant

8    for Dominguez’s arrest based on his involvement in an armed robbery on September 12,

9    2017.

10           When CRU officers arrested Dominguez’s accomplices on September 13, 2017,

11   Dominguez drove by the scene.

12           The gun used in the September 12 armed robbery was not recovered during the

13   September 13 arrests and was still outstanding on September 15, 2017.

14           On September 15, 2017, Officer Pina and other CRU officers were briefed that

15   Dominguez was believed to be armed with a revolver.

16           CRU officers followed Dominguez as he drove through San Jose on September 15,

17   2017; his driving indicated he believed he was being followed.

18           When CRU officers implemented the Vehicle Containment Technique to take

19   Dominguez into custody, they activated their lights and sirens.

20           When Dominguez eventually raised his hands in response to police commands to

21   do so, Officer Pina warned him not to move or he would be shot.

22           Dominguez told Officer Pina “f**k you” and “shoot me,” then quickly dropped his

23   hands and leaned down and forward in the driver’s seat where he sat.

24   B. PLAINTIFFS’ FACTS

25       1. Unsupported Assertions

26           a. Whether Dominguez committed a crime

27           Plaintiffs state that “there is a dispute as to whether or not Decedent had committed

28   any crime.” (Pls.’ Mot. at 20.) But officers had a warrant for Dominguez’s arrest for felony
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1    robbery. (Neumer Decl. Ex. 5.) And officers tailed Dominguez from the scene of that

2    robbery and saw him drive by the scene where his accomplices were arrested the

3    following day. (Clouse Decl. Ex. 6 Pina Depo. at 29:15-21; 30:5-10; Clouse Decl. Ex. 7

4    Lopez Decl. at 59:15-60:11.) Plaintiffs offer no basis to question whether Dominguez was

5    in fact involved with the robbery for which CRU officers sought to arrest him.

6           b. Whether officers reasonably believed Dominguez was armed

7           Plaintiffs repeatedly misstate the evidence about officers’ information that

8    Dominguez was armed on September 15, 2017. For instance, Plaintiff writes that

9    “Defendants lacked credible information that Dominguez could have been armed at the

10   time he was killed.” (Pls.’ Mot. at 25.) But the undisputed evidence is that officers were

11   advised by the briefing officer that he had information from a source that Dominguez was

12   armed with a revolver. (Clouse Decl. Ex. 6 Pina Depo. at 55:16-56:6; Clouse Decl. Ex. 8

13   Ferguson Depo. at 74:2-23.) Plaintiffs do not address that evidence or offer any reason

14   why the officers should have disbelieved the source of that information.

15          Elsewhere, Plaintiffs erroneously suggest that “officers were advised that the

16   suspect may be armed with a revolver.” (Pls.’ Mot. at 7 (emphasis added).) As stated

17   above, officers had specific information that Dominguez was armed, with a specific

18   weapon. Moreover, in support of their erroneous assertion, Plaintiffs cite the Santa Clara

19   County District Attorney’s Report (Crowley Decl. Ex. 9 (“DA Report”)), without citation to

20   any page. In fact, the DA Report identifies that officers were told in briefing that Dominguez

21   was “believed to be armed with a revolver.” (Id. at 4.)

22          In addition, Dominguez was involved in an armed robbery on September 12, 2017,

23   for which officers sought to arrest him. (See Neumer Decl. Ex. 5.) In that robbery,

24   Dominguez’s accomplice used a gun to rob a gas station. (Clouse Decl. Ex. 8 Ferguson

25   Depo. at 20:8-14.) It is undisputed that the gun used in that armed robbery had not been

26   recovered at the time officers tried to arrest Dominguez on September 15, 2017, despite

27   the fact that officers arrested Dominguez’s accomplices on September 13. (Clouse Decl.

28   Ex. 6 Pina Depo. at 37:25-38:1, 40:2-17.) Officer Pina and other CRU officers participated
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1    in that arrest and were aware the gun was outstanding. (Id.) Added to that was officers’

2    awareness that Dominguez was a gang member, which provided another reason to

3    believe the reports that he possessed a gun. (Clouse Decl. Ex. 7 Lopez Depo. at 36:14-

4    20.)

5           The information they had led officers to believe Dominguez was armed on the day

6    they tried to apprehend him. Where a subject is suspected of a gun crime and sources tell

7    officers the suspect is indeed in possession of a gun, officers “may be permitted to act on

8    the assumption that he may be armed and dangerous.” Burrell v. McIlroy, 464 F.3d 853,

9    858 (9th Cir. 2006). Plaintiffs offer no reason why it was unreasonable for officers to

10   approach Dominguez with the belief he was armed.

11          c. Whether Dominguez threatened officers

12          Plaintiffs repeatedly argue that Dominguez did not threaten officers. They even

13   claim that “[a]t the time Dominguez was shot, he was complying with the command of

14   Officer Pina for about ten (10) seconds with both his hands above his shoulders, at about

15   ear level.” (Pls.’ Mot. at 15.) The testimony of Officer Ferguson that Plaintiffs cite does not

16   support that claim. (Crowley Decl. Ex. 2 Ferguson Depo. at 71:23-72:12, 73:16-21, 78:7-

17   11.) Officer Ferguson’s testimony is that Dominguez had his hands up just far enough that

18   officers could see them in the window, and that was the case for maybe ten seconds. (Id.)

19   Officer Ferguson did not testify that Dominguez’s hands were up when Officer Pina fired.

20   To the contrary, Officer Ferguson testified that Dominguez had been complying by putting

21   his hands up, but then Dominguez dropped his hands and leaned forward, as if reaching

22   for something, then he heard Officer Pina’s rifle fired. (Clouse Decl. Ex. 8 Ferguson Depo.

23   at 79:16-80:2; 81:12-13.) In other words, Dominguez stopped complying with officers’

24   commands to keep his hands up, then was shot. (See Ferguson Decl. ¶ 6; Lopez Decl. ¶

25   6; Clouse Decl. Ex. 6 Pina Depo. at 95:20-97:10.)

26          Dominguez threatened officers when he dropped his hands and leaned forward,

27   appearing to reach for something. Plaintiffs do not dispute that Dominguez made that

28   movement. Nor do they dispute that Dominguez made that movement after the following
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1    sequence of events: officers ordered him to put his hands up; he reluctantly put his hands

2    at shoulder level; Officer Pina told him not to move or he would be shot; Dominguez

3    replied, “F**k you, bitch, shoot me.” (Clouse Decl. Ex. 6 Pina Depo. at 68:11-15; 79:9-

4    80:16; 83:16-25; 91:13-92:13.) When Dominguez then dropped his hands out of sight and

5    leaned forward, Dominguez was an imminent deadly threat to officers.

6           d. The position of Dominguez’s hands and arms when Officer Pina fired

7           Plaintiffs make numerous statements about the position of Dominguez’s hands and

8    arms when shots were fired. They repeatedly claim his arm was “raised” and make claims

9    that his hands were “up.” (See, e.g., Pls.’ Mot. at 11, 13.) To be clear, the only evidence is

10   that the left sleeve of Dominguez’s sweatshirt would have been above the bottom window

11   frame by the time the second shot was fired. (For the reasons explained in Defendants’

12   Motion and below, whether it was the first or second shot that went through the sweatshirt

13   sleeve is immaterial.) There is no further evidence about the position of Dominguez’s left

14   arm at the time the bullet impacted the sweatshirt, for instance whether his arm was

15   parallel or perpendicular to the window frame, or how high above the window frame it was.

16   And there is no evidence about the position of Dominguez’s hand at the time the bullet

17   passed through the sweatshirt, for instance whether his hand was raised or instead

18   dropped down below the level of the window. Plaintiffs’ expert testified only that, in his

19   opinion, Dominguez’s left arm had to be above the level of the window frame. He offered

20   no further opinion about the position of Dominguez’s left arm or his hand. (Clouse Decl.

21   Ex. 9 Balash Depo. at 21:11-21.) There is no evidence at all about the position of

22   Dominguez’s right arm or hand.

23          Plaintiffs assert: “A fact agreed to by both Plaintiffs’ and Defendants’ expert

24   witnesses is that Dominguez had his hands raised above the steering wheel and his left

25   upper arm above the driver’s side windowsill door when Officer Pina put one .225 caliber

26   bullet through the driver’s side window into the left side jaw area of Dominguez, resulting in

27   his fatal injuries.” (Pls.’ Mot. at 11.) Plaintiffs cite no evidence in support of that claim, and

28   it is inaccurate in multiple respects. Most significantly, neither party’s expert expressed any
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1    opinion or referred to any evidence about the position of Dominguez’s hands at the time

2    shots were fired. Neither expert identified any evidence or offered any opinion about the

3    position of Dominguez’s right arm so as to support any statement about where his right

4    hand was at the time.

5           Each expert stated that Dominguez’s left arm would have been above the level of

6    the window frame at the time the shot that went through the sweatshirt was fired. But the

7    experts do not agree whether the shot that went through the sweatshirt is the same that

8    impacted Dominguez’s jaw. Plaintiffs’ expert believes the first shot struck the window glass

9    and then Dominguez’s jaw, and that the second shot passed through the sweatshirt.

10   (Clouse Decl. Ex. 9 Balash Depo. at 19:10-14, 19:24-20:14.) Accordingly, contrary to

11   Plaintiffs’ claim, Plaintiffs’ expert has no opinion about the position of Dominguez’s arm at

12   the time Officer Pina fired the shot that struck Dominguez and caused his death. (Id. at

13   21:6-10.)

14          e. When Officer Pina fired

15          Officer Pina testified that he fired as Dominguez was coming back up after dropping

16   his hands and leaning forward. (Clouse Decl. Ex. 6 Pina Depo. at 97:3-10.) Officer Pina

17   aimed while Dominguez was leaning forward, then fired as he was coming back up. (Id.)

18   Plaintiffs argue that “[i]f Dominguez had been shot as he was leaning forward with both his

19   arms and hands out of sight as though going for a gun, as Officer Pina asserts,

20   Dominguez’s body would have fallen forward.” (Pls.’ Mot. at 14.) But that is not what

21   Officer Pina asserts. Plaintiffs identify nowhere in the record where he did. Dominguez’s

22   position following the shooting—leaning back in the driver’s seat—is consistent with Officer

23   Pina’s testimony that Dominguez was shot as he was moving back to an upright position.

24      2. Immaterial Facts

25               a. Whether Officer Pina could have seen Dominguez’s arm as he fired

26          Plaintiffs rely on their claims about the position of Dominguez’s left arm at the time

27   he was shot to argue that Officer Pina did not reasonably perceive an imminent threat. But

28   because Dominguez’s movement signaled an imminent threat, the precise location of his
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1    arm at the time Officer Pina fired is not material to the reasonableness of his decision to

2    use deadly force. As Officer Pina explained, he was looking through his rifle sights when

3    he fired. And he had been looking through the rifle sights leading up to when he fired

4    because, when Dominguez dropped his hands and leaned forward, Officer Pina perceived

5    an imminent deadly threat and took steps to protect himself. (Clouse Decl. Ex. 6 Pina

6    Depo. at 95:23-96:7; 97:3-10.) Officer Pina was then looking at Dominguez from the

7    shoulders up. (Id. at 96:25-97:2.) As Defendants’ expert explained, once Officer Pina was

8    looking through his sights, it would not be expected that he could see Dominguez’s arm.

9    (Clouse Decl. Ex. 11 Black Report at 24.)

10          Moreover, if he was to protect himself, Officer Pina did not have time to determine

11   the position of Dominguez’s arm and whether Dominguez had indeed armed himself. (Id.

12   at 21, 23.) If Dominguez sat up pointing a gun at Officer Pina, Dominguez could have fired

13   at Officer Pina before Officer Pina could react to protect himself and his fellow officers. (Id.

14   at 23-24.) As explained in Defendants’ Motion for Summary Judgment, if an officer

15   perceives an imminent deadly threat, the law does not require him to wait for the threat to

16   materialize before using deadly force.

17             b. Whether Dominguez was in fact armed

18          There is no dispute that Dominguez was not in possession of a gun when officers

19   initiated the Vehicle Containment Technique to apprehend him. But officers had

20   information that Dominguez was armed with a revolver, as well as other information that

21   made it reasonable for them to believe he was armed. Therefore, whether Dominguez was

22   in fact unarmed is not material because there is no evidence officers knew Dominguez did

23   not have a gun within reach when they reacted with deadly force. That they had not seen

24   the gun while following Dominguez that day does not undermine officers’ belief that

25   Dominguez was armed. If anything, it supports officers’ perception that Dominguez was

26   reaching for a concealed gun to shoot them.

27   ///

28   ///
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1                c. Dominguez’s travel plans

2            Without any citation to the record, Plaintiffs state that Dominguez booked a one-way

3    flight from the Bay Area to Ohio. (Pls.’ Mot. at 7.) Plaintiffs also state, again without

4    citation, that Dominguez was driving a car rented from the San Jose Airport. (Id.) Plaintiffs

5    give no indication that Officer Pina or other officers tasked with apprehending Dominguez

6    knew any of those facts. Nor do they give any indication why those facts matter to the

7    reasonableness of officer’s actions in attempting to apprehend Dominguez and reacting to

8    the threat he posed.

9    C. USE OF DEADLY FORCE WAS REASONABLE

10           Plaintiffs do not dispute that an imminent deadly threat justifies the use of deadly

11   force. (Similarly, Defendants do not dispute that deadly force should only be used in

12   defense of life and under the direst of circumstances. (See Pls.’ Mot. at 15.))1 Instead, they

13   rely on unsupported facts and hindsight to argue that Officer Pina’s perception of an

14   imminent deadly threat was unreasonable.

15           First, Plaintiffs argue that Officer Pina did not reasonably perceive a deadly threat

16   because Dominguez “had his arm up” when he was shot. (Pls.’ Mot. at 16.) As explained

17   above, the evidence is not that Dominguez’s arm was “up.” Rather, the evidence is only

18   that Dominguez’s sweatshirt sleeve was above the bottom of the car door window frame.

19   There is no evidence that Dominguez’s arm was up in any position that would have

20   indicated to Officer Pina he was not a threat. That is particularly so in light of the

21   undisputed evidence that Dominguez had just told officers “f**k you” and “shoot me,” then

22
     1   Defendants note, however, that Officer Ferguson did not testify that this situation did not
23
24   call for the use of lethal force, as Plaintiffs’ citations seem to indicate. (See Pls.’ Mot. at
25   15:10-11 (citing Crowley Decl. Ex. 2 Ferguson Depo. at 89:10-13).) To the contrary, Officer
26   Ferguson testified that he believed deadly force was the only option in response to
27   Dominguez’s movement to drop his hands and lean forward. (Clouse Decl. Ex. 8 Ferguson
28   Depo at 83:7-10.)
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1    dropped his hands and leaned forward, in defiance of officers’ commands to keep his

2    hands up. Defendants’ Motion provides authority holding that officers faced with those

3    circumstances are not required to wait to see whether a suspect in fact pulls a gun on

4    them.

5            Next, Plaintiffs argue the shooting was unjustified because it was based on an

6    erroneous believe that Dominguez was armed. But Officer Pina did not shoot Dominguez

7    merely because he believed he was armed. (Pls.’ Mot. at 18.) Officer Pina did not shoot

8    Dominguez when Dominguez initially did not comply with commands, though he believed

9    Dominguez was armed at the time. He did not shoot Dominguez when Dominguez said,

10   “f**k you, shoot me,” though he believed Dominguez was armed then too. Officer Pina shot

11   Dominguez when he moved in a way that indicated he was retrieving the weapon Officer

12   Pina believed he possessed. Officer Pina acted in response to what he perceived, based

13   on the totality of the circumstances known to him, was an imminent deadly threat.

14           As explained above, the fact that it was ultimately determined that Dominguez was

15   unarmed is not dispositive. “[O]bjective reasonableness turns on the ‘facts and

16   circumstances of each particular case.’ A court must make this determination from the

17   perspective of a reasonable officer on the scene, including what the officer knew at the

18   time, not with the 20/20 vision of hindsight.” Kingsley v. Hendrickson, 576 U.S. 389, 397

19   (2015) (quoting Graham v. Connor, 490 U.S. 386, 396 (1989)). What Officer Pina knew at

20   the time was that Dominguez had a revolver with him.

21           Plaintiffs also suggest that the use of force was unreasonable because the vehicle

22   Dominguez was driving was pinned in. (See, e.g., Pls.’ Mot. at 21.) But Plaintiffs offer no

23   evidence or reason why that would matter in the face of an apparent effort to retrieve a gun

24   and shoot officers. If an officer reasonably believes he is about to be shot, it would not

25   matter that the suspect is otherwise contained.

26           Tennessee v. Garner, 471 U.S. 1 (1985), does not advance the analysis. Garner

27   addressed the circumstances in which officers could justifiably use deadly force to prevent

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1    the escape of a suspect who was not believed to be armed or dangerous to the officer. Id.

2    at 3. Dominguez was believed to be both.

3            Nor does Harris v. Roderick, 126 F.3d 1189 (9th Cir. 1997), help Plaintiffs. Harris

4    reiterated the principle applicable here: “Law enforcement officers may not shoot to kill

5    unless, at a minimum, the suspect presents an immediate threat to the officer ….” Id. at

6    1201. In Harris, the Ninth Circuit reasoned that, “Graham 's totality of the circumstances

7    test does not permit the use of deadly force to kill a suspect who is running back to a cabin

8    where he is temporarily staying and who makes no threatening movement of any kind.” Id.

9    as 1203. Here, in contrast, it is undisputed that officers had specific information that

10   Dominguez was armed and that Dominguez made a threatening move that prompted

11   officers to fire.

12           For the same reason, this case is distinguishable from the others Plaintiffs cite. In

13   Curnow v. Ridgecrest Police, 952 F.2d 321, 325 (9th Cir. 1991), plaintiffs introduced a

14   sworn statement that, though the decedent had a weapon, he did not point it at officers

15   and was not facing officers when they shot him. And in A.K.H. v. City of Tustin, 837 F.3d

16   1005, 1012-13 (9th Cir. 2016), an officer shot a suspect when he took his hand out of his

17   pocket in response to the officer’s command. The officer did not warn the suspect he

18   would shoot. Id. More significantly, for purposes of analysis in this case, the officer had no

19   information the suspect was armed, or that he had a history of gun possession. Id.

20           Deorle v. Rutherford, 272 F.3d 1272 (9th Cir. 2001), has even less to do with the

21   facts at issue here. In Deorle, officers used a non-lethal beanbag in an attempt to subdue a

22   subject who was suicidal and behaving erratically. Id. The Ninth Circuit reasoned,

23   however, that the use of force was unreasonable because the subject was known to be

24   unarmed at the time, had not committed any serious crime, and had generally been

25   obeying officers’ instructions. Id. at 1275. Dominguez, who was wanted for armed robbery,

26   disobeyed officers’ instructions and appeared to reach for a weapon officers were told he

27   had. Those are objective factors supporting Officer Pina’s belief that Dominguez was

28   retrieving a gun and was about to shoot him.
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1           Finally, Plaintiffs’ citation to Hammer v. Gross, 932 F.2d 842 (9th Cir. 1991), is

2    wholly inapposite. (Pls.’ Mot. at 24.) Hammer addressed whether police could forcibly

3    extract a blood sample from a suspected drunk driver. Id. Judge Kozinski’s considerations

4    about the need to employ consensual methods to gather evidence, where available, have

5    no bearing on the use of lethal force in reaction to a perceived deadly threat.

6           Plaintiffs assert that “[n]o governmental interest supports the use of unnecessary

7    force.” (Pls.’ Mot. at 24.) That tautology does not address whether it was reasonable for

8    Officer Pina to believe, based on the circumstances, that Dominguez was about to shoot

9    him or another officer. Under the circumstances, and based on the information Officer Pina

10   had and what he had witnessed of Dominguez’s behavior, the use of deadly force was the

11   necessary and only reasonable reaction to the threat Dominguez posed.

12   D. QUALIFIED IMMUNITY

13          To defeat qualified immunity, Plaintiffs would have to identify a case in which an

14   officer faced with similar circumstances as those that confronted Officer Pina was found to

15   have violated the Constitution. They do not.

16          Plaintiffs begin by arguing that “Officer Pina is not entitled to qualified immunity

17   because a suspect has the established right not to be seized with deadly force, when he is

18   not … a reasonable threat ….” (Pls.’ Mot. at 25.) But that merely states the Constitutional

19   standard. The Supreme Court “ha[s] repeatedly told courts not to define clearly established

20   law at too high a level of generality.” City of Tahlequah, Oklahoma v. Bond, 142 S. Ct. 9,

21   11 (2021). “[T]he general rules set forth in Garner and Graham do not by themselves

22   create clearly established law.” Kisela v. Hughes, 138 S. Ct. 1148, 1153 (2018) (internal

23   quotations omitted). It is insufficient to say that Officer Pina violated Dominguez’s right to

24   be free from unreasonable force.

25          Plaintiffs proceed to identify several cases, but none of them helps Plaintiffs. In Cruz

26   v. City of Anaheim, 765 F.3d 1076, 1078 (9th Cir. 2014), the Ninth Circuit considered the

27   shooting of a suspect who officers were told was carrying a gun in his waistband and had

28   vowed not to go back to prison. According to officers, the suspect ignored police
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1    commands to get on the ground and instead reached for his waistband. Id. It was

2    ultimately determined the suspect was unarmed when he was shot. Id. The Ninth Circuit

3    explained that “[i]t would be unquestionably reasonable for police to shoot a suspect in

4    [decedent]'s position if he reaches for a gun in his waistband, or even if he reaches there

5    for some other reason. Given [decedent]'s dangerous and erratic behavior up to that point,

6    the police would doubtless be justified in responding to such a threatening gesture by

7    opening fire.” Id. at 1079 (emphasis added). Applying that reasoning to this case, Cruz

8    makes clear that it was reasonable for Officer Pina to react to Dominguez’s threatening

9    movement by shooting him, regardless whether Dominguez sat back up with a gun in his

10   hand. Cruz defeats Plaintiffs’ argument that this was an “obvious” case of illegality. The

11   difference between this case and Cruz is that other evidence undermined officers’

12   statement that the suspect reached for his waistband. Id. at 1080. No such evidence exists

13   here, and Plaintiffs do not dispute that Dominguez dropped his hands and leaned forward,

14   as officers recounted.

15          Perrin v. Gentner, 177 F. Supp. 2d 1115, 1117 (D. Nev. 2001), addressed an officer

16   who followed a suspicious person, who responded to the officer’s commands by reaching

17   toward his waistline. The officer fired multiple volleys without warning the suspect he would

18   shoot. Id. The officer had no information the suspect was armed or had been involved in

19   any crime. Id. at 1117-18. Under those circumstances, there was a question of fact

20   whether the officer’s use of deadly force was reasonable. Id. at 1120-21. The opposite

21   circumstances applied to Dominguez’s apprehension. Even if the facts were more similar,

22   Perrin is a district court case and therefore does not clearly establish the law. See, e.g.,

23   Evans v. Skolnik, 997 F.3d 1060, 1067 (9th Cir. 2021) (“district court decisions … do not

24   necessarily settle constitutional standards”) (quoting Camreta v. Greene, 563 U.S. 692,

25   709 n.7 (2011)); S.B. v. County of San Diego, 864 F.3d 1010, 1016 (9th Cir. 2017)

26   (rejecting argument that two district court decisions provided clearly established law).

27          Plaintiffs’ citation to Hulstedt v. City of Scottsdale, 884 F. Supp. 2d 972 (D. Ariz.

28   2012), is difficult to understand. Officers in that case shot a mentally ill suspect who had
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1    earlier threatened to throw his young child out a window. Id. During a stand-off with police,

2    the suspect lifted the child over his head, prompting officers to fire without warning. Id. The

3    facts are too different from those in this case for Hulstedt to provide any meaningful

4    comparison. The same is true of Mattos v. Agarano, 661 F.3d 433, 441 (9th Cir. 2010),

5    which considered whether it was reasonable for officers to deploy tasers on two women

6    who got in heated arguments with police.

7           Plaintiffs point to Glenn v. Washington County, 673 F.3d 864, 872 (9th Cir. 2011),

8    for its observation that a subject does not necessarily pose an immediate deadly threat

9    because he possesses a weapon. (Pls.’ Mot. at 26.) But, as explained repeatedly, officers

10   did not view Dominguez as a deadly threat merely because they believed he had a gun. In

11   any case, Glenn is also too dissimilar from this case to clearly establish whether Officer

12   Pina could use force in response to Dominguez’s movement. The subject in Glenn was

13   holding a knife to his own throat, threatening suicide, when officers shot him with a

14   beanbag. Glenn, 673 F.3d at 869. The subject then staggered toward his home, with his

15   parents inside; officers shot and killed him. Id. That case does not inform an officer

16   whether he is justified in using deadly force when a suspect believed to be armed stops

17   complying with commands, tells the officer to “shoot him,” and drops his hands and leans

18   forward.

19          Finally, Plaintiffs argue that a suspect’s apparent emotional or mental instability

20   should factor into the reasonableness inquiry. (Pls.’ Mot. at 26.) But Plaintiffs offer no

21   explanation how that principle applies to this case. Nor is it clear how any of the cases

22   Plaintiffs cite for this point advance their position. In Luchtel v. Hagemann, 623 F.3d 975,

23   980 (9th Cir. 2010), the Ninth Circuit concluded it was reasonable for officers to use force

24   to subdue a woman whose cocaine use rendered her psychotic because she grabbed a

25   bystander and knocked her down, then fought officers who tried to restrain her. Id. at 978,

26   980. In Drummond v. City of Anaheim, 343 F.3d 1052, 1061 (9th Cir. 2003), officers were

27   not entitled to qualified immunity where they “allegedly crushed [the subject] against the

28   ground by pressing their weight on his neck and torso, and continu[ed] to do so despite his
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1    repeated cries for air, and despite the fact that his hands were cuffed behind his back and

2    he was offering no resistance.” Officers were summoned by a neighbor who worried the

3    subject would hurt himself. Id. And officers had encountered the subject just the night

4    before, when they were asked to help get him to the hospital for treatment because he was

5    mentally ill and hallucinating. Id. Those facts bear no resemblance to this case. The same

6    is true of Booke v. County of Fresno, 98 F. Supp. 3d 1103 (E.D. Cal. 2015), where officers

7    responded to a call about a suicidal subject and talked to him for several minutes while

8    pointing less lethal projectiles at him before he appeared to charge at officers, prompting

9    several to shoot him with rifles.

10          Plaintiffs’ effort to skew the qualified immunity analysis with hindsight and avoidance

11   of the facts should be rejected. (See Pls.’ Mot. at 25.) Plaintiffs emphasize repeatedly that

12   Dominguez was unarmed. (Id.) As explained, Officer Pina did not know that to be the case,

13   and the information he had was to the contrary. Plaintiffs therefore cannot rely on the fact

14   that Dominguez did not possess a weapon, no weapon was found in the car, officers did

15   not observe him with a weapon, and that he was unarmed. (Id.) And Plaintiffs’ assertion

16   that officers “lacked credible information that Dominguez could have been armed at the

17   time he was killed” ignores the facts. (Id.) Finally, Plaintiffs’ assertion that officers were not

18   in danger because Dominguez’s car was pinned in (id.) entirely ignores Dominguez’s

19   undisputed action indicating he was retrieving a weapon and about to fire at officers, as

20   well as his conduct leading up to it that led officers to believe Dominguez posed an

21   imminent deadly threat. In short, Plaintiffs identify no case where an officer was held to

22   have violated the Fourth Amendment in circumstances like those Officer Pina faced.

23   E. NO FACTS SUPPORT THE CITY’S LIABILITY

24      1. Monell Liability

25          Plaintiffs acknowledge that, for the City to be liable for a violation of Section 1983,

26   they must prove that the alleged Constitutional violation was caused by a custom, practice,

27   or policy of the City or the San Jose Police Department. (Pls.’ Mot. at 27.) However,

28   Plaintiffs identify no custom, practice, or policy at issue. It is not enough to say that the
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1    officers testified their actions were within Police Department policy. (Pls.’ Mot. at 27-28.)

2    The officers’ testimony does not help Plaintiffs on this point because they did not testify

3    about any policy that caused their conduct. (See Pls.’ Mot. at 28 (citing excerpts of Pina

4    Depo., Ferguson Depo., Lopez Depo.) Rather, the officers testified about training on points

5    that are not in dispute here, including that the use of deadly force requires an imminent

6    threat based on the totality of the circumstances and that deadly force is the most serious

7    level of force an officer can employ. (Crowley Decl. Ex. 1 Pina Depo. at 18:13-19:24;

8    Crowley Decl. Ex. 2 Ferguson Depo. at 90:1-25.)

9           Plaintiffs cite LaLonde v. County of Riverside, 204 F.3d 947 (9th Cir. 2000), to

10   support their argument that it is enough that the officers testify their conduct was in

11   compliance with department policies. (Pls.’ Mot. at 28.) But the officer in LaLonde testified

12   about a specific policy for handcuffing and that he applied that policy when handcuffing the

13   plaintiff, which was the alleged cause of the Constitutional violation. LaLonde, 204 F.3d at

14   961. Plaintiffs have not identified any such nexus between any policy of the City or Police

15   Department and officers’ actions here. The only applicable policy would seem to be the

16   Police Department’s use of force policy, but no evidence has been adduced that its policy

17   is unconstitutional. Nor has any evidence been developed that the use of force policy, or

18   any other policy, of the Police Department was the “moving force” behind the actions

19   Plaintiffs challenge.

20          Plaintiffs also argue that “the actions of Defendant Pina were accepted practice at

21   the SJPD.” (Pls.’ Mot. at 28.) But for Plaintiffs to show that the City is liable for an

22   unconstitutional custom or practice, they would have to show a pattern of similar incidents.

23   Hunter v. Cty. of Sacramento, 652 F.3d 1225, 1233 (9th Cir. 2011) (“[L]iability for improper

24   custom may not be predicated on isolated or sporadic incidents.”) (quotation omitted).

25   There is no such evidence.

26          Nor is there any evidence that supposed ratification by the Santa Clara County

27   District Attorney, even if ratification occurred, could be attributed to the City of San Jose.

28   (See Pls.’ Mot. at 28.) Plaintiffs refer to the DA Report, but there is no indication in the
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1    report that the City of San Jose or the Police Department prepared the report or signed off

2    on it. (See Crowley Decl. Ex. 9.) In addition, the DA Report is hearsay, and Plaintiffs offer

3    no basis for considering it in support of their Motion for Summary Judgment.

4       2. Respondeat Superior Liability

5           For the City to be liable on a theory of respondeat superior, Plaintiffs would have to

6    be able to prove one of their state law claims. For the reasons explained in Defendants’

7    Motion, they have no evidence to support either one. Plaintiffs claim that “[t]he use of

8    excessive force that killed Dominguez entitles Plaintiffs to relief under California Civil Code

9    section 52.1.” (Pls.’ Mot. at 28.) Plaintiffs cite Venegas v. County of Los Angeles, 32 Cal.

10   4th 820 (2004), for that proposition. But Venegas does not hold that, or even address

11   whether, an excessive use of force necessarily constitutes a violation of Civil Code section

12   52.1. As explained in Defendants’ Motion, a Bane Act violation requires more than use of

13   excessive force; it requires evidence that the officer intended to use more force than he

14   needed. Reese v. Cty. of Sacramento, 888 F.3d 1030, 1045 (9th Cir. 2018). The only

15   evidence here is that Officer Pina believed Dominguez was about to shoot him.

16                                         III. CONCLUSION

17          For the foregoing reasons, neither Officer Pina nor the City of San Jose is liable

18   based on the shooting of Jacob Dominguez on September 15, 2017. Officer Pina’s use of

19   deadly force in reaction to the immediate deadly threat Dominguez presented was

20   reasonable. Defendants therefore respectfully request that the Court deny Plaintiffs’ Motion

21   for Summary Judgment and grant Defendants’ Motion for Summary Judgment and render

22   judgment in Defendants’ favor on all Plaintiffs’ claims.

23                                                   Respectfully submitted,
24   Dated: April 1, 2022                            NORA FRIMANN, City Attorney
25
                                                     By:        /s/ Maren J. Clouse
26                                                              MAREN CLOUSE
                                                                Chief Deputy City Attorney
27
                                                     Attorneys for DEFENDANTS
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